Case 1:20-cv-05855-DG-RML           Document 54        Filed 04/16/25       Page 1 of 1 PageID #: 543




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     April 16, 2025

     Hon. Robert M. Levy
     United States Court Eastern District of New York
     225 Cadman Plaza East
     Brooklyn, New York 11201

     Re:    Marques v. Indian Taj. Inc. d/b/a Santoor Indian Restaurant, Et. Al.
            Case No. 1:20-cv-05855-DG-RML
            Letter Motion Requesting Adjournment of the Joint Status Report Due April 23rd.

     Your Honor:

     I represent Ms. Jugraj Kaur, the wife of Kirpal Singh. I requested a G.A.L. be appointed
     for Kirpal Singh due to his multiple health problems and diminished capacity. In this
     regard, you ordered a joint status report due April 23rd along with any opposition to the
     appointment of a G.A.L. .

     My client was only able to get an appointment April 23rd with Mr. Singh’s neurologist at
     which time they will request a medical report, for circulation and or submission to the court
     in relation to the requirements for G.A.L. and the need for a protective order.

     I am requesting that we are given an additional 2 weeks for the joint status report to be filed
     which would push it out to May 7th.


                                          Respectfully Submitted,



                                          Manuel Moses, Esq.
